                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

   AMY OGLE,                                       )
                                                   )
           Plaintiff,                              )
                                                   )        Case No. 3:20-cv-293
   v.                                              )
                                                   )        Judge Atchley
   WILLIAM T. JONES, individually and in his       )
   official capacity, and ANDERSON                 )        Magistrate Judge McCook
   COUNTY, TENNESSEE,                              )
                                                   )
           Defendants.                             )

                                      JUDGMENT ORDER

         This action came before the Court for a trial by jury. The issues have been tried, and the

  jury has rendered its verdict.

         The jury found that Plaintiff, AMY OGLE, proved by a preponderance of the evidence that

  Defendants WILLIAM T. JONES and ANDERSON COUNTY, TENNESSEE, subjected her to a

  hostile work environment under 42 U.S.C. § 1983. On this claim, the jury awarded Plaintiff

  damages of $1,500,000.00 against Defendant JONES and $650,000.00 against Defendant

  ANDERSON COUNTY, TENNESSEE. The jury also found that under 42 U.S.C. § 1983, Plaintiff

  proved by a preponderance of the evidence that Defendants WILLIAM T. JONES and

  ANDERSON COUNTY, TENNESSEE, subjected her to quid pro quo sexual harassment. On this

  claim, the jury awarded Plaintiff damages of $1,500,000.00 against Defendant JONES and

  $650,000.00 against Defendant ANDERSON COUNTY, TENNESSEE.

         The jury further found that under 42 U.S.C. § 1983, Plaintiff proved her entitlement to

  punitive damages against Defendant JONES by a preponderance of the evidence. By separate

  verdict, the jury awarded $1,000,000.00 in punitive damages against Defendant JONES.




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          In addition to Plaintiff’s Section 1983 claims, the jury found that Plaintiff proved by a

  preponderance of the evidence that Defendant ANDERSON COUNTY, TENNESSEE, subjected

  her to a hostile work environment under the Tennessee Human Rights Act and awarded her

  $650,000.00 in damages.1 Finally, the jury found that Plaintiff did not prove by a preponderance

  of the evidence that Defendant ANDERSON COUNTY, TENNESSEE, subjected her to quid pro

  quo harassment under the Tennessee Human Rights Act.

          In summary, the jury awarded total damages to Plaintiff in the amount of $5,950,000.00.

  These damages consist of $3,000,000.00 in compensatory damages against Defendant JONES,

  $1,950,000.00 in compensatory damages against Defendant ANDERSON COUNTY,

  TENNESSEE, and, by separate verdict, $1,000,000.00 in punitive damages against Defendant

  JONES. Accordingly, judgment is entered in favor of Plaintiff AMY OGLE and against

  Defendants WILLIAM T. JONES and ANDERSON COUNTY TENNESSEE, in the amount of

  $5,950,000.00, with post-judgment interest at the rate set by 28 U.S.C. § 1961.

          SO ORDERED.
                                                      /s/Charles E. Atchley, Jr.   c
                                                      CHARLES E. ATCHLEY JR.
                                                      UNITED STATES DISTRICT JUDGE


  ENTERED AS A JUDGMENT
  /s/ LeAnna Wilson c
  LeAnna Wilson
  CLERK OF COURT




  1
    The Court notes that pursuant to TENN. CODE ANN. § 4-21-313(a)(6), Plaintiff’s damages on this claim are capped
  at $300,000. Any motion to amend this judgment must be filed within the time prescribed by Federal Rule of Civil
  Procedure 59(e).


                                     2
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